Case 0:17-cv-60426-UU Document 376 Entered on FLSD Docket 12/04/2018 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

          Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  ____________________________________/

                                             ORDER

          THIS CAUSE comes before the Court sua sponte.

          THE COURT has considered the pertinent portions of the record and is otherwise fully

  advised in the premises.

          Given the Court closure on Wednesday, December 5, 2018, in observance of the National

  Day of Mourning to honor the memory of former President George H. W. Bush, it is hereby

  ORDERED AND ADJUDGED that the parties shall have until THURSDAY, DECEMBER 6,

  2018, to submit their list pursuant to the Court’s Order dated November 20, 2018, D.E. 327.

          DONE AND ORDERED in Chambers, Miami, Florida, this 4th__ day of December,

  2018.



                                                       ________________________________
                                                       URSULA UNGARO
                                                       UNITED STATES DISTRICT JUDGE
  cc: counsel of record via cm/ecf




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